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Case No. 1:13-cr-00392-CMA Document 249-24 filed 08/14/14 USDC Colorado pg 2 of 3
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                  From:llJohn Pawelski
                            7/200910:38:48 AM
                              WalkerR; clara@hifiveworld.com; Curtis Morris; Johnny Kerwin; Mimi
                             ; Patti Lee; Patty Danzing; Tom Brokaw; Tom Williams
                                              Message Body



        is the updated Bonds and BPN.




              Springs,Colo 80915

     19)597‑7702

        309‑7032(fax)




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                                     Outlook Header Information
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          Path: <abfl oans@comcast.net>
    -Original-To: effnbks@myedl.com
      ivered-To : effnbks@myedl.com
   tece市 ed:from k080 smtproutcs com(k080.smtproutcs com[20870.89180])
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       by k080 smtproutcs com([1921682180])
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               : from OMTA06.emeryville.ca.mail.comcast.net ([76.96.30.5 1 ])
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      id 94ds1c00g0x6TnP8S4dt7h; Sat,27 Jun 2009 16:38:42 +0000
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      <clara@hifi veworld.com>,
      "Curtis Morris" <effnbks@myedl.com>,
      "Johnny Kerwin" <jgk4l 42@falconbroadband.net>,
      "Mimi Vigil" <mimiv07@comcast.net>,
      "Patti Lee" <spirit71 I 1@yahoo.com>,
      "Patty Danzing" <danzing42@y ahoo.com>,
      "Tom Brokaw" <tombrokaw33@msn.com>,
      "Tom Williams" <thos49@hotmail.com>

            :Sat,27 Jun 2009 10:37:52‑0600
             ization: Asset Based Funding
        essage-ID: <00000 1 c9f745$9e95a0a0$650 1 a8c0@john1 >
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